    Case 2:21-cr-00141-BWA-KWR Document 28 Filed 08/19/22 Page 1 of 5




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                           *         CRIMINAL NO.21-141

                       v                            *         SECTION: "Mo'

 JONATHAN ORPILLA SINLAO                            x<




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                                          FACTUAL BASIS

       Should this matter have gone to trial, the Government would have proved through the

introduction   of reliable testimony and admissible tangible exhibits, including           documentary

evidence, the following to support the allegation charged by the Govemment in Count               I   of the

Indictment now pending against the defendant, JONATHAN ORPILLA SINLAO ("SINLAO"),

which charges him with conspiracy to commit access device fraud in violation of Title I 8, United

States Code, Section   1029(b)(2). Both the Government and the defendant, SINLAO, do hereby

stipulate and agree that the following facts set forth a sufficient factual basis for the crimes to

which the defendant is pleading guilty.

                                             Overview

       If this case had proceeded to trial, the Govemment            would present documentary and

testimonial evidence that the Department          of      Homeland Security     -   Homeland Security

Investigations ("HSl") conducted an investigation into over 100 fraudulenttransactions at Home

Depot stores   in 2019. This investigation revealed that SINLAO               used victims' credit card

numbers backed by Citibank to make approximately $340,164.49              in unauthorized        purchases


between in and around February 2019 at through in and around July 2019 at Home Depot stores

located in Louisiana, Florida, Texas, Arizona, California, New York, and Oklahoma. At least

                                             Page    I   of   5
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    Case 2:21-cr-00141-BWA-KWR Document 28 Filed 08/19/22 Page 2 of 5




seven of these unauthorized transactions took place in the Eastern District   of Louisiana, in New

Orleans, Gretna, Harahan, and Kenner, in or around April 2019.

       At trial, the Government would present evidence that SINLAO routinely went into Home

Depot stores in person and purchased gift cards and other items, which he paid for utilizing a

temporary charge pass containing his name and l6-digit credit card numbers. The Government

would introduce bank records from Citibank proving that these l6-digit credit card numbers were

not issued to SINLAO. The Government would introduce testimony by cardholders that these

purchases were unauthorized. The Government would introduce video footage andlor

photographic evidence from Home Depot stores which captures SINLAO conducting

approximately 78 unauthorized transactions. An HSI Special Agent would testify that he

recognizes SINLAO as the individual conducting these transactions based on, among other

characteristics, SINLAO's distinctive tattoos. The Government would also introduce Home

Depot receipts and other Home Depot records showing that SINLAO provided his true driver's

license number   in connection with approximately 88 transactions. Moreover, the Government

would introduce flight records from Southwest Airlines and United Airlines showing that

SINLAO's travel was consistent with the locations in which the fraudulent transactions occurred.

       The Government would present evidence that, during the aforementioned               scheme,

SINLAO conspired with others, including Co-Conspirator 1 and Co-Conspirator 2.                  The

Govemment would introduce documentary and video evidence that SINLAO and his co-

conspirators would sometimes conduct unauthorized transactions at Home Depot stores located in

the same geographic area at around the same time period as one another. The Government would

introduce bank records from Charles Schwab and flight records from Southwest Airlines and


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    Case 2:21-cr-00141-BWA-KWR Document 28 Filed 08/19/22 Page 3 of 5




United Airlines showing that SINLAO and his co-conspirators sometimes traveled to the locations

of fraudulent transactions on the same itineraries and paid for the travel with the same credit card.

For example, the Government would introduce flight records showing that, on or about March2,

2019, SINLAO and Co-Conspirator 2 flew from San Jose, Califomia, to Phoenix, Arizona on the

same   itinerary, On or about March 2, 2019, video surveillance at a Home Depot in            Tempe,

Arizona captures SINLAO and Co-Conspirator 2 conducting transactions at the same time.

        The Government would introduce documentary evidence that SINLAO and his co-

conspirators would sometimes conduct unauthorized transactions using the same Home Depot

credit card numbers as one another. For example, the Govemment would present documentary

evidence that, on        or about April 23, 2019, Co-Conspirator      I   conducted   a transaction of

approximately     $1   ,822.60 using a Home Depot credit card number ending in x2388, at a Home

Depot store located at 1100 South Claiborne Ave., New Orleans, Louisiana. The Government

would introduce video evidence of SINLAO conducting two transactions the next day using the

same Home Depot credit card number ending in x2388, at a Home Depot store located at 5151

Citrus Boulevard, Harahan, Louisiana, to receive items of an approximate value of $4,676.55.

The Government would introduce a Home Depot receipt showing that, during this transaction,

SINLAO purchased         a Home Depot   gift card ending in x5448. D.D. would testify that credit card

number ending in x2388 was issued to D.D., and that these purchases by SINLAO and Co-

Conspirator   I   were not authorized. The Government would introduce testimonial and physical

evidence that, on or about     April23,20l9, SINLAO sold a Home Depot gift      card ending in x5448,

with a balance of $2,000, to a pawn shop in Metairie, Louisiana, for approximately $1,000.00.

An employee of the pawn shop would testify that, during this transaction, the pawn shop

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    Case 2:21-cr-00141-BWA-KWR Document 28 Filed 08/19/22 Page 4 of 5




photographed   SINLAO's driver's license and kept it on        file.   The pawn shop employee would

testify that the pawn shop still had this gift card because it was deactivated due to suspected fraud

before the pawn shop could sell it.

       The Government would introduce testimonial and documentary evidence that, on or about

July 4, 2019, SINLAO went into a Home Depot store located at 6720 N.W. Expressway,

Oklahoma City, Oklahoma, and attempted to conduct two unauthorized transactions using two

different Home Depot credit card numbers that were not issued to        him. A Home   Depot employee

would testify that she learned that the card numbers were not issued to SINLAO and called the

Oklahoma City Police Department ("OKCPD"). The Government would introduce testimonial

and documentary evidence that OKCPD then obtained a warrant to search a U-Haul vehicle that

SINLAO had driven to the Home Depot on July 4th. The Government would                        introduce

testimonial and photographic evidence that, during the search of the U-Haul, OKCPD officers

seized: receipts   for   fraudulent Home Depot purchases; boxes containing Home Depot

merchandise; temporary charge passes containing SINLAO's name with 16-digit credit card

numbers not assigned to SINLAO; and SINLAO's personal effects, including his Social Security

card and tax forms.

                                            Conclusion

       In sum, the Government would present evidence that, through the above-described scheme,

SINLAO conspired with Co-Conspirator       1,   Co-Conspirator 2, and others to commit access device

fraud between February 2019 and July 2019 by making unauthorized purchases at Home Depot

stores in the Eastern District of Louisiana and elsewhere using sixteen-digit credit card numbers

that were not issued to him or his co-conspirators. SINLAO admits that his unauthorized


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    Case 2:21-cr-00141-BWA-KWR Document 28 Filed 08/19/22 Page 5 of 5




transactions caused a loss    of approximately $340,164.49 to Citibank, and that this loss          was

foreseeable to him.

                                 Limited Nature of Factual Basis

        This proffer of evidence is not intended to constitute a complete statement of all facts

known by SINLAO and/or the govemment. Rather, it is a minimum statement of facts intended

to prove the necessary factual predicate for his guilty plea. The limited purpose of this proffer is

to demonstrate that there exists a sufficient legal basis for the plea of guilty to the charged offenses

by SINLAO.

        The above facts come from an investigation conducted by, and would be proven at trial

through, inter alia, credible testimony from witnesses including Special Agents from the

Department of Homeland Security, Citibank cardholders, employees of Home Depot, Deputies

with Jefferson Parish Sheriffls Office, Officers with the Oklahoma City Police Department; and

the introduction of bank records, photographs, video footage, flight records, physical evidence,

and other admissible tangible exhibits in the custody of HSI

READ AND APPROVED:




                                                                       ORPILLA SINLAO




                                                        SAMANTHA KUHN
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                                                        Counsel for Defendant
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                                                        MARIA M. CARBONI
                                                        Assistant United States Attorney



                                              Page   5 of   5
